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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                     Plaintiff,

        v.                                     CRIMINAL NO. 1:17CR32-25
                                                    (Judge Keeley)

  JASON PERRY,

                     Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 841),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On January 19, 2018, the defendant, Jason Perry (“Perry”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count One-

  hundred-eight of the Superseding Indictment. After Perry stated

  that he understood that the magistrate judge is not a United States

  district judge, he consented to tendering his plea before the

  magistrate judge. Previously, this Court had referred the guilty

  plea to the magistrate judge for the purposes of administering the

  allocution pursuant to Federal Rule of Criminal Procedure 11,

  making     a   finding   as   to   whether   the   plea   was   knowingly   and

  voluntarily entered, and recommending to this Court whether the

  plea should be accepted.

        Based upon Perry’s statements during the plea hearing and the

  government’s proffer establishing that an independent factual basis

  for the plea existed, the magistrate judge found that Perry was
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  competent to enter a plea, that the plea was freely and voluntarily

  given, that he was aware of the nature of the charges against him

  and the consequences of his plea, and that a factual basis existed

  for the tendered plea. The magistrate judge entered a Report and

  Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

  (dkt.     no.   841)   finding   a   factual   basis   for   the    plea   and

  recommending that this Court accept Perry’s plea of guilty to Count

  One-hundred-Eight of the Superseding Indictment.

          The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections to the R&R.

          Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Perry’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count One-hundred-eight of the Superseding Indictment.

          Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it




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  has received and reviewed the presentence report prepared in this

  matter.

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The Probation Officer shall undertake a presentence

  investigation of Perry, and prepare a presentence report for the

  Court;

        2.    The Government and Perry shall provide their versions of

  the offense to the probation officer by February 12, 2018;

        3.    The presentence report shall be disclosed to Perry,

  defense counsel, and the United States on or before April 12, 2018;

  however, the Probation Officer shall not disclose any sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before April 26, 2018;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before May 7, 2018; and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the




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  factual basis from the statements or motions, on or before May 7,

  2018.



          The magistrate judge remanded Perry to the custody of the

  United States Marshal Service.

          The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Friday, May 18, 2018 at 11:00 A.M. at the Clarksburg,

  West Virginia point of holding court.

          It is so ORDERED.

          The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: February 5, 2018


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




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